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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK

STATE OF NEW YORK ex rel. TZAC, INC.

                       Plaintiff-Relator,
                                                    No. 1:20-cv-2955-GHW
     v.
                                                    ORAL ARGUMENT REQUESTED
NEW ISRAEL FUND,

                       Defendant.




       MEMORANDUM OF LAW IN SUPPORT OF NEW ISRAEL FUND’S
          MOTION TO DISMISS TZAC’S AMENDED COMPLAINT

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                                        INTRODUCTION

       Despite amending its complaint, the Zionist Advocacy Center (TZAC) still fails to state a

valid claim against the New Israel Fund (NIF). In fact, TZAC’s new pleading only confirms that

its novel effort to use the New York False Claims Act to harass an organization whose mission

TZAC disapproves of suffers from multiple dispositive flaws. First, New York law prohibits qui

tam actions based on publicly disclosed information, which is all TZAC has to offer. Second,

TZAC’s theory of fraud misconceives NIF’s New York tax obligations, which do not turn on NIF’s

compliance (or representations of compliance) with 26 U.S.C. § 501(c)(3). Finally, TZAC has not

pleaded facts showing that NIF knowingly violated § 501(c)(3) to begin with. For any and all of

these reasons, the Court should dismiss this action.

                                            BACKGROUND

       NIF is a not-for-profit charity. Am. Compl. ¶ 2 (Doc. 30). Since its founding in 1979, NIF

has been dedicated to the advancement of democracy and equality in Israel. Its cause attracts

millions of dollars in charitable donations each year, which NIF distributes as grant aid to Israeli

nonprofits for the promotion of human and civil rights, social and economic justice, religious

pluralism, and other charitable activity.

       NIF’s work is no secret. On the contrary, NIF publicizes its grants and other activities in

a comprehensive annual report and audit, which it archives on its website for anyone to see. See

NIF, Financials, Ex. A1. In addition, the Internal Revenue Service publishes NIF’s annual “Form

990” information return for review by the public. See IRS, Form 990 Series Downloads, Ex. B1;

IRS, New Israel Fund, Ex. B3. These comprehensive public disclosures enable government

officials and private watchdogs alike to scrutinize NIF’s operations, including its entitlement to

state and federal tax benefits. See, e.g., Ex. C.



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       Plaintiff TZAC is a self-proclaimed “advocate[]” for “the Jewish State.” Am. Compl. ¶ 5.

TZAC disagrees with NIF’s mission. According to TZAC, “[a]lthough the stated purpose of NIF

is to help strengthen Israel’s democracy, NIF consistently opposes” (what TZAC views as) “Israeli

security” by “supporting organizations” that (as TZAC sees it) “seek to undermine Israel.” Id. ¶ 2.

Apparently dissatisfied with its inability to advance its criticism of NIF in the marketplace of

ideas—or to persuade the IRS to take action against NIF—TZAC has filed this action seeking to

force litigation about whether NIF has complied with § 501(c)(3) of the Internal Revenue Code

and seeking a relator’s bounty.

       TZAC first sued in New York state court in August 2019. Compl. (Doc. 1-2, Ex. B to

Notice of Removal). As originally filed, TZAC’s complaint recited information from NIF’s

published tax filings, financial disclosures, and other internet publications and then concluded that

NIF had engaged in “electioneering” inconsistent with its federal tax-exempt status. See id. ¶ 1

The complaint alleged that NIF’s federal tax exemption had been “obtained and maintain[ed]” by

fraud, id., and that this supposed fraud against the IRS violated the New York False Claims Act

because NIF’s federal tax exemption conferred “exemption from taxation in the State and City of

New York,” id. ¶ 21; see also id. ¶ 4. The complaint did not identify any provisions of New York

tax law that NIF had allegedly violated.

       Having reviewed TZAC’s allegations under seal, the State of New York declined to

prosecute this lawsuit on its own behalf. Order ¶ 1 (Doc. 1-4, Ex. D). The state court thus unsealed

the case, and NIF removed it to this Court. Notice of Removal (Doc. 1).

       NIF then moved to dismiss TZAC’s original complaint. Doc. 27. In support of its motion,

NIF argued that (1) TZAC’s complaint was barred by the New York False Claims Act’s “public

disclosure bar”; (2) TZAC was impermissibly seeking to enforce federal tax law; and (3) TZAC



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had failed to adequately plead a viable claim. See Doc. 28. In response, TZAC simultaneously

filed an amended complaint—thus mooting NIF’s motion to dismiss the original complaint—and

a brief styled as “Memorandum of Law in Opposition to Motion to Dismiss” that argued

preemptively in defense of the newly-filed amended complaint. See Doc. 31 at 13 (“For all of

these reasons, Relator’s Amended Complaint should not be dismissed.”). While the amended

complaint makes only slight modifications to the original, TZAC’s superfluous brief crystallizes

its flawed theory of false-claims liability.

       For instance, although TZAC acknowledges that its “allegations concern transaction[s] that

are on websites,” id. at 3, it insists that public webpages—regardless of their accessibility, content,

or purpose—do not count as “news media” unless they belong to a “news organization,” id. at 4–

5. And although the term “news organization” appears nowhere in the New York statute, and

TZAC does not explain what “news organization” means, TZAC nonetheless concludes that NIF

could not be a “news organization” for unstated reasons. See id. at 5.

       In addition, while TZAC’s original complaint did not identify any provisions of New York

tax law or explain how misrepresentations about compliance with federal tax law would give rise

to New York FCA liability, the amended complaint reveals TZAC’s theory: “As a result of NIF’s

federal tax exemption, it receives exemption from taxation in the State and City of New York

based on rule 20 N.Y.C.R.R. 1-3.4(b)(6)(i), (ii).” Am. Compl. ¶ 22. TZAC thus argues that it “is

attempting to enforce New York State Tax Law which mirrors the federal law.” Doc. 31 at 7. As

explained below, however, TZAC ignores the plain language of the provision of New York law it

relies on. Contrary to TZAC’s position, that rule does not “mirror” 26 U.S.C. § 501(c)(3); instead,

it makes NIF’s New York exemption turn on NIF’s nonprofit status—which is undisputed.




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        Finally, TZAC has deleted certain allegations relating to what it labels “electioneering” by

NIF grantees and added others. See Am. Compl. ¶¶ 12–34; Doc. 31 at 8–13. But TZAC has again

failed to adequately plead its claim: most of TZAC’s allegations concern conduct by NIF grantees,

not by NIF itself, see, e.g., Am. Compl. ¶ 30; TZAC does not allege that those grantees used NIF

funding to engage in the alleged conduct; and many allegations lack the requisite particularity, see,

e.g., id. ¶ 31. Even more fundamentally, TZAC fails to plead a viable claim that NIF knowingly

violated § 501(c)(3) and thus (on TZAC’s erroneous theory of New York tax law) the New York

False Claims Act. The line between permissible issue advocacy and prohibited electioneering is

notoriously hazy, and TZAC does not identify any judicial or administrative guidance that would

have put NIF on notice that the conduct alleged would be deemed to fall on the wrong side of that

line.

        The Court should dismiss TZAC’s amended complaint for any or all of the independently

dispositive reasons discussed below.

                                      LEGAL STANDARDS

        “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Sierra Club v. Con-Strux,

LLC, 911 F.3d 85, 88 (2d Cir. 2018) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). In

addition, to properly allege false-claims liability TZAC must “state with particularity the

circumstances constituting [the alleged] fraud.” Fed. R. Civ. P. 9(b); see U.S. ex rel. Chorches for

Bankr. Estate of Fabula v. Am. Med. Response, Inc., 865 F.3d 71, 81 (2d Cir. 2017); see also

Loreley Fin. (Jersey) No. 3 Ltd. v. Wells Fargo Sec., LLC, 797 F.3d 160, 182 n.14 (2d Cir. 2015)

(“While the substantive elements of common-law fraud that must be proven are a matter of state




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law, what must be pleaded and with what level of particularity are governed by Rules 9(b) and

12(b)(6).”). TZAC has done neither.

                                          ARGUMENT

I.     The Public Disclosure Bar Prohibits This Action.

       The New York False Claims Act’s “public disclosure bar” still prohibits this lawsuit. Like

its federal counterpart, the New York statute directs courts to “dismiss a qui tam action” if the

allegations in the complaint are “substantially the same [as] allegations or transactions” that have

been “publicly disclosed” in “the news media” or “government report[s].” N.Y. State Fin. Law

§ 190(9)(b). A narrow exception allows suit by an “original source” of such information. Id.; see

also id. § 188(7). Thus, if an action is based on information “in the public domain, and the qui

tam plaintiff was not a source of that information, then the suit is barred.” U.S. ex rel. Dick v.

Long Island Lighting Co., 912 F.2d 13, 18 (2d Cir. 1990).1

       The public disclosure bar serves a sensible purpose well illustrated by this case. “When

the material elements of a fraud are already in the public domain, the government has no need for

a relator ….” State ex rel. Jamaica Hosp. Med. Ctr., Inc. v. UnitedHealth Grp., Inc., 922 N.Y.S.2d

342, 343 (App. Div. 2011) (quoting U.S. ex rel. Ondis v. City of Woonsocket, 587 F.3d 49, 58 (1st

Cir. 2009)). The bar thus aims “to prevent ‘[opportunistic] lawsuits by those who learn of the

fraud through public channels … [and] contribute[] nothing to [its] exposure.’” U.S. ex rel. Kester




1
 Because New York law “follows the federal False Claims Act …, it is appropriate to look toward
federal law when interpreting the New York act.” State ex rel. Seiden v. Utica First Ins. Co., 943
N.Y.S.2d 36, 39 (App. Div. 2012); see State ex rel. Raw Data Analytics LLC v. JP Morgan Chase
& Co., 108 N.Y.S.3d 796, 802 & n.3 (Sup. Ct. 2019). This Court has thus relied on federal
precedents to apply the state public disclosure bar—even after New York’s 2010 amendments.
See Chen ex rel. U.S. v. EMSL Analytical, Inc., 966 F. Supp. 2d 282, 305 (S.D.N.Y. 2013).



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v. Novartis Pharm. Corp., 43 F. Supp. 3d 332, 344 (S.D.N.Y. 2014) (quoting U.S. ex rel. Doe v.

John Doe Corp., 960 F.2d 318, 319 (2d Cir. 1992)). Such “strangers to the fraud” only hamper

the government’s enforcement efforts by co-opting qui tam procedures for their own private ends.

U.S. ex rel. Kreindler & Kreindler v. United Techs. Corp., 985 F.2d 1148, 1158 (2d Cir. 1993)

(quoting U.S. ex rel. Stinson, Lyons, Gerlin, & Bustamante, P.A. v. Prudential Ins. Co., 944 F.2d

1149, 1155 (3d Cir. 1991)). TZAC is exactly the sort of plaintiff the public disclosure bar aims to

prohibit: It has culled every last one of its allegations from the public domain, and it has not even
                                                                                                  2
attempted to qualify as an original source. It cannot pursue this lawsuit on New York’s behalf.

       A.     The Complaint is Based Entirely on Information in the Public Domain.

       The allegations in TZAC’s complaint are “substantially similar” to—in fact, exactly the

same as—information “contained in prior ‘public disclosures.’” Kester, 43 F. Supp. 3d at 346

(quoting Chen, 966 F. Supp. 2d at 296–97); see also Doc. 31 at 3 (“[A]ll the allegations concern

transaction[s] that are on websites ….”).

       To begin, the allegedly “false certifications” made in NIF’s federal tax filings are squarely

in the public domain. See Am. Compl. ¶¶ 9–20. In U.S. ex rel. Rosner v. WB/Stellar IP Owner,

L.L.C., 739 F. Supp. 2d 396 (S.D.N.Y. 2010), this Court held that a New York City Department




2
  In ruling on NIF’s motion, the Court may consider documents that are “incorporated by reference
in the complaint and documents that are ‘integral’ to the complaint because the plaintiff ‘relies
heavily upon [their] terms and effect.’” N.Y. ex rel. Khurana v. Spherion Corp., No. 15 CIV. 6605
(JFK), 2016 WL 6652735, at *11 (S.D.N.Y. Nov. 10, 2016) (quoting DiFolco v. MSNBC Cable
L.L.C., 622 F.3d 104, 111 (2d Cir. 2010)). The Court may also “take judicial notice of the fact
that press coverage and judicially noticeable public records contained certain information, without
regard to the truth of their contents.” Id. (citing Chen, 966 F. Supp. 2d at 294). The exhibits to
this motion fall into these permissible categories because they are either referenced and relied on
in the complaint or establish that certain information was publicly available “without regard to
[its] truth.” Staehr v. Hartford Fin. Servs. Grp., Inc., 547 F.3d 406, 425 (2d Cir. 2008).



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of Finance database contained publicly disclosed government “reports” on real-estate taxation

because it was “readily available to the public,” “the searches [were] free and unlimited,” and the

results “present[ed] synthesized tax benefit histories for many different properties over many

years.” Id. at 407. As already mentioned, the IRS maintains a similar database applicable here.

Anyone with an internet connection can access a dedicated page listing NIF’s Employer

Identification Number; NIF’s status as a Public Charity; and the reporting period, return

identification number, and return type of NIF’s most recent tax filings. See Exs. B2–B3. The

database likewise publishes copies of NIF’s tax returns, organized by form and year. See Ex. B3.

The IRS’s “organization” and “synthesis” of NIF’s tax data into an easy-to-use public database

thus constitutes a “public disclosure.” Rosner, 739 F. Supp. 2d at 407–08.

       The same information has also been collected, republished, and exhaustively analyzed in

the “news media.” The “news media” category of the public disclosure bar applies broadly to print

and electronic publications that periodically make new information “generally accessible to the

public.” U.S. ex rel. Alcohol Found. v. Kalmanovitz Charitable Found., Inc., 186 F. Supp. 2d 458,

463 (S.D.N.Y. 2002). And although the New York False Claims Act specifies that a disclosure is

not “in the ‘news media’ merely because … [it] ha[s] been posted on the internet,” N.Y. State Fin.

Law § 190(9)(b)(iii) (emphasis added), that caveat only codifies the view of the federal courts,

which have applied the federal public disclosure bar to a broad range of websites “intended to

disseminate information” to an interested public audience. U.S. ex rel. Osheroff v. Humana Inc.,

776 F.3d 805, 813 (11th Cir. 2015). These courts have rejected public disclosure arguments based

on obscure and secluded web postings, see U.S. ex rel. Oliver v. Philip Morris USA, Inc., 101 F.

Supp. 3d 111, 124–25 (D.D.C. 2015); U.S. ex rel. Green v. Serv. Contract Educ. & Training Trust

Fund, 843 F. Supp. 2d 20, 32 (D.D.C. 2012), and—just like the New York statute—have rejected



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the notion “that anything posted online would automatically constitute a public disclosure,” U.S.

ex rel. Radcliffe v. Purdue Pharma, L.P., 582 F. Supp. 2d 766, 772 (W.D. Va. 2008), rev’d in part

on other grounds, 600 F.3d 319 (4th Cir. 2010). Yet they have applied the bar to internet

publications that share the function and purpose of traditional news outlets: informing the public

on recent events and previously unknown facts. See Osheroff, 776 F.3d at 813; U.S. ex rel.

Kraxberger v. Kansas City Power & Light Co., 756 F.3d 1075, 1079 (8th Cir. 2014).

         With respect to NIF’s tax filings, various charity watchdogs have done just that. Catering

to a segment of the public interested in tax-exempt charities, these websites have produced and

periodically updated profiles on NIF for review by potential donors and the public. See Charity

Navigator, New Israel Fund, Ex. C; ProPublica, New Israel Fund, Ex. D1; NGO Monitor, New

Israel Fund, Ex. E1. And as particularly relevant here, ProPublica’s “Nonprofit Explorer” has

catalogued and republished every NIF Form 990 dating back to 2001. See Exs. D1–D11. In so

doing, it has given both the State and countless third parties access to NIF’s tax filings, eliminating

the need for a qui tam relator. Kreindler, 985 F.2d at 1158. These “particular website[s]” thus

“qualif[y] as news media in light of the concerns motivating the FCA’s public disclosure bar.”

Green, 843 F. Supp. 2d at 33.

         The same goes for TZAC’s allegations of NIF’s grant-making activities. TZAC alleges

that NIF gave grants to five Israeli organizations: the Israel Religious Action Center (IRAC), Am.
              3
Compl. ¶ 25 ; Adalah, id. ¶ 28; Mossawa, id. ¶ 29; Adam Teva, id. ¶ 30; and the Council for Peace

and Security (CPS), id. ¶ 34. But this is no revelation, as NIF has published annual reports listing

each of its grant recipients for every year since 2007. See NIF, Financials Ex. A1; see also Exs.



3
    IRAC is the public and legal advocacy arm of the Reform movement of Judaism in Israel.



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A2–A12 (NIF’s detailed financial statements from 2008 to 2018, all made available publicly

through NIF’s website). And the watchdog group NGO Monitor has republished and analyzed

each of NIF’s financial statements for over a decade. See Exs. E2–E12. Like the ProPublica

resource discussed above, NGO Monitor’s website qualifies as “news media” because it provides

periodic reports of new information to an interested public audience. See Alcohol Found., 186 F.

Supp. 2d at 463; Green, 843 F. Supp. 2d at 33.

       Finally, and most importantly, the conduct TZAC labels “electioneering” also occurred in

public view and appeared in various news media reports. In fact, TZAC admits as much under the

mistaken premise that “[a] company’s own website clearly does not constitute news media, except

when that company is itself a news organization.” Doc. 31 at 4–5. But TZAC has it backwards.

If an organization like NIF or one of its grantees is publishing news on its website or public social

media account, then it is a “news organization” in the eyes of the public disclosure bar.

Kraxberger, 765 F.3d at 1079. It is for this very reason that so many courts have applied the bar

to so many diverse publications—electronic and otherwise. Id.; cf. Alcohol Found., 186 F. Supp.

2d at 463 (explaining the bar’s application to non-newspaper print publications).

       The “imposition of a judicially created limit of ‘news media’ to encompass only the

newspaper” or other traditional press would not square with the statutory text or the bar’s well-

settled purpose. Alcohol Found., 186 F. Supp. 2d at 463; see id. at 463–65. And given that the

bar inarguably extends to the internet as a medium, the courts’ longstanding focus on the function

and purpose of a public disclosure must apply to digital publications the same as it does to print.

Compare id. at 463–65 (applying a functional and purposive approach to a public disclosure in

print) with Green, 843 F. Supp. 2d at 31–33 (applying a functional and purposive approach to a

public disclosure on the internet). That is the only logical course especially where, as here, the



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websites at issue have been used specifically to publicize current events, see Exs. F1–F12, and the

public (and the relator) have accessed those websites specifically to learn about the defendant’s

conduct, see, e.g., Am. Compl. ¶ 32 (“[T]hese grantees proudly post on their websites what they

have been doing ….”); Doc. 31 at 4–5 (defending the amended complaint’s complete reliance on

public websites and social media for its allegations of “electioneering”). Indeed, the amended

complaint itself shows that NIF and its grantees “function[] as … news organization[s]” and must

be treated as such under the public disclosure bar. See Kraxberger, 756 F.3d at 1079. TZAC’s

open reliance on their web publications triggers the public disclosure bar.

       Moreover, and in any event, the amended complaint repeats information published by the

traditional press. TZAC continues to rely on allegations that NIF worked to disqualify Otzma

Yehudit candidates from the 2019 Knesset elections, Am. Compl. ¶ 24, despite coverage of that

event in the Israeli newspaper Haaretz, see Ex. G1. TZAC continues to rely on allegations that

Adalah petitioned the Israeli Central Elections Commission to allow Haneen Zoabi to stand for

election, Am. Compl. ¶ 28, despite coverage of that event in JPost, see Ex. G2. TZAC makes new

allegations regarding NIF’s “New Initiatives for Democracy” campaign, Am. Compl. ¶ 32, despite

coverage of that campaign in the traditional press, see Ex. G3. And TZAC makes new allegations

regarding the Council for Peace and Security, Am. Compl. ¶ 33–34, whose activities in the 2015

election were well documented in both print and television news, see Ex. G4. At the very least,

the allegations that retrace these public disclosures cannot form the basis of a qui tam suit.

       B.      TZAC is Not an Original Source.

       Like federal law, New York law allows an exception to the public disclosure bar for an

“original source.” N.Y. State Fin. Law § 188(7). But TZAC does not and could not claim to be

an original source. See supra at 6–10 (identifying the sources of information covered by TZAC’s



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allegations); see also Doc. 31 at 2–6 (acknowledging the same); cf. Jamaica, 922 N.Y.S.2d at 343

(noting relator’s failure to allege original source status).

II.       TZAC’s Tax Fraud Theory Fails as a Matter of New York Law.

          The amended complaint also fails to state a claim because NIF’s alleged false certification

regarding “electioneering” is immaterial to its New York tax obligations. TZAC continues to

allege that NIF fraudulently avoided state taxes by lying on its federal Form 990s. See Am. Compl.

¶ 9–22.      But those forms cannot support false-claims liability unless the allegedly false

certifications they contained were “material to an obligation to pay or transmit money or property

to the state.” N.Y. State Fin. Law § 189(1)(g) (emphasis added). And under the plain language of

the New York tax law provision that TZAC relies on, NIF’s state tax exemption does not turn on

its abstention from “electioneering” or its status under the federal tax code.

          As noted above, the amended complaint spells out TZAC’s theory for how alleged

misrepresentations in federal Form 990s would translate into fraudulent avoidance of New York

tax liability: “As a result of NIF’s federal tax exemption, it receives exemption from taxation in

the State and City of New York based on rule 20 N.Y.C.R.R. 1-3.4(b)(6)(i), (ii).” Am. Compl.

¶ 22. According to TZAC, this New York regulation “mirrors” § 501(c)(3). Doc. 31 at 7. That,

however, is not true.

          The regulation TZAC invokes, which implements New York’s “corporation franchise tax,”

see N.Y. Tax Law § 209, provides:

          (b) The following corporations are exempt from taxation …:
              ***
              (6) corporations organized other than for profit which do not have stock or
              shares or certificates for stock or for shares and which are operated on a
              nonprofit basis no part of the net earnings of which inures to the benefit of any
              officer, director, or member, including Not-for-Profit Corporations and
              Religious Corporations.



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               (i) A corporation organized other than for profit, as described in this
               paragraph, which is exempt from Federal income taxation pursuant to
               subsection (a) of section 501 of the Internal Revenue Code, will be
               presumed to be exempt from [the franchise tax]. If a corporation organized
               other than for profit is denied exemption from taxation under the Internal
               Revenue Code, such corporation will be presumed subject to [the franchise
               tax].
               (ii) The determination of the Internal Revenue Service, denying or revoking
               exemption from Federal taxation under the Internal Revenue Code, will
               ordinarily be followed;

20 N.Y.C.R.R. § 1-3.4(b)(6). As is evident, this rule states in no uncertain terms that “corporations

organized other than for profit which do not have stock or shares or certificates for stock or for

shares and which are operated on a nonprofit basis” are “exempt from” the franchise tax. Id. And

as TZAC correctly alleges, “NIF is a … non-profit corporation.” Am. Compl. ¶ 2. Thus, under

the plain language of the only New York tax law TZAC invokes, NIF’s state tax exemption turns

on its undisputed non-profit status and not its compliance with § 501(c)(3).

       Contrary to TZAC’s apparent belief, the two romanette provisions under § 1-3.4(b)(6) do

not provide otherwise. To be sure, romanette (i) says that if a nonprofit receives a federal tax

exemption under 26 U.S.C. § 501(a) it “will be presumed to be exempt from” the state franchise

tax, and romanette (ii) says that an IRS decision to “deny[] or revok[e]” a federal exemption “will

ordinarily be followed.” Id. § 1-3.4(b)(6)(i)–(ii). But neither of these subordinate provisions

purports to alter the clear rule that paragraph (b)(6) sets out; rather than change the standard for

exemption—which, as explained above, turns on an organization’s status as a nonprofit—these

provisions address evidentiary issues about how to apply that standard in certain situations. Thus,

a federal exemption creates a “presum[ption]” of state tax exemption, but such a presumption is

inherently non-dispositive and the ultimate issue remains whether the entity satisfies the standard

set forth in paragraph (b)(6). Likewise, the “ordinarily” language in romanette (ii) makes clear




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that that provision merely provides an evidentiary guide and does not abrogate the standard it helps

implement.

       The New York Commissioner of Taxation and Finance has confirmed this straightforward

reading. In a 2010 advisory opinion, the Commissioner explained that a not-for-profit corporation

that “does not fall under any of the Federal tax exempt provisions of § 501” and “has never filed

[a] Federal Form 990” nonetheless qualified for exemption under 20 N.Y.C.R.R. § 1-3.4(b)(6).

See N.Y. Dep’t Tax. & Fin., Opinion Letter on Pet. No. C100317A, 2010 WL 2721216, at *2 (Jun

23, 2010). Hewing to the regulation’s clear terms, the Commissioner observed “that failure to

have a Federal exemption creates only a presumption of taxability” and “this presumption may be

rebutted.” Id. In the case at issue, the organization petitioning for the opinion “me[t] the standards

set forth in the exemption regulation” because it “operated on a not-for-profit basis and no part of

its net earnings inure[d] to the benefit of any officer, director or member of the corporation.” Id.

at *1–3. It thus qualified for exemption under New York law despite never having submitted a

federal Form 990 and never having received a federal tax exemption (and despite believing itself

ineligible for a federal exemption). Id.

       In light of the above, TZAC’s claim fails as a matter of New York law. A false statement

or certification cannot give rise to liability under the New York False Claims Act unless it is

“material to an obligation to pay or transmit money or property to the state.” N.Y. State Fin. Law

§ 189(1)(g). “‘[M]aterial’ means having a natural tendency to influence, or be[ing] capable of

influencing[,] the payment or receipt of money or property.” Id. § 188(5); see also State ex rel.

Raw Data Analytics LLC v. JP Morgan Chase & Co., 108 N.Y.S.3d 796, 806 n.6 (Sup. Ct. 2019)

(“This is the same definition of materiality as set forth in the federal False Claims Act ….”).

Because of that limitation, false-claims liability does not extend to “instances of regulatory



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noncompliance that are irrelevant to” any claimed obligation to pay taxes. Mikes v. Straus, 274

F.3d 687, 697 (2d Cir. 2001), abrogated on other grounds by Universal Health Servs., Inc. v. U.S.

ex rel. Escobar, 136 S. Ct. 1989 (2016).

        The upshot of the materiality requirement is clear: because NIF is “organized other than

for profit,” “do[es] not have stock or shares or certificates for stock or for shares,” and is “operated

on a nonprofit basis,” 20 N.Y.C.R.R. § 1-3.4(b)(6); see Am. Compl. ¶ 2, NIF is exempt under the

New York tax law relied on by TZAC regardless of NIF’s status under § 501(c)(3). NIF’s

certifications on its Form 990 and compliance with § 501(c)(3) are therefore immaterial to its state

tax obligations and cannot give rise to false-claims liability.

III.    TZAC Has Failed to Plead that NIF Knowingly Violated § 501(c)(3).

        Even if it were material to TZAC’s claim under the New York FCA, TZAC fails to allege

facts showing that NIF’s statements to New York regarding its § 501(c)(3) compliance were false,

let alone knowingly false. First, TZAC still fails to allege any particularized factual basis for

attributing the conduct of NIF’s grantees to NIF itself—despite NIF clearly raising this issue in its

prior motion to dismiss. See Doc. 28 at 14–16. Second, TZAC fails to plead facts raising a

plausible inference that NIF knew it had engaged in partisan political activity in violation of

§ 501(c)(3). In particular, the factual allegations do not support TZAC’s conclusion that NIF knew

it was responsible for the specific grantee conduct alleged or that NIF knew or should have known

that any of the alleged “electioneering” conduct violated the uncertain parameters of § 501(c)(3).

For these additional reasons, the Court should dismiss the amended complaint.

        A.      TZAC Has Failed to Properly Attribute the Conduct of NIF’s Grantees to NIF.

        The amended complaint seemingly assumes that NIF is responsible for any action taken by

any organization that has received an NIF grant. In truth, NIF is responsible only for grantee



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conduct that it chose to sponsor. Accordingly, the link between NIF’s grants and the alleged

conduct of its grantees is one of the “circumstances” of the alleged fraud that TZAC must plead

with particularity. Fed. R. Civ. P. 9(b); see Chorches, 865 F.3d at 81. TZAC’s failure to do so

requires dismissal.

       The IRS has long made clear that a § 501(c)(3) organization does not “jeopardize its

exemption …, even though it distributes funds to nonexempt organizations,” such as foreign

nonprofits, “provided it retains control and discretion over use of the funds for [exempt] purposes.”

Rev. Rul. 68-489, 1968-2 C.B. 210 (1968); see also IRS Info. Ltrs., 2019 WL 3048649 (June 28,

2019) (explaining the continuing force of Rev. Rul. 68-489). Thus, so long as NIF “controls [its]

disbursement[s] and ensures that [they are] applied to exempt purposes,” it does not bear

responsibility for the independent actions of its grantees. Nat’l Found., Inc. v. United States, 13

Cl. Ct. 486, 493 (1987), as amended (Nov. 10, 1987).

       Yet the amended complaint attributes grantee conduct to NIF in the most threadbare and

conclusory terms. Like the original complaint, TZAC’s amended complaint repeatedly alleges the

well-known, publicly disclosed facts that NIF gave grants to certain Israeli nonprofits in certain

years. See, e.g., Am. Compl. ¶ 25 (alleging that NIF gave grants to IRAC in 2014, 2015, 2016,

2017, and 2018); id. ¶ 30 (alleging that NIF gave grants to Adam Teva in 2014, 2016, and 2017).

Then, without the least bit of explanation as to what those grants were for, TZAC asserts that those

nonprofits engaged in various forms of “electioneering.” See, e.g., id. ¶ 25 (“In 2019 IRAC

published a video about the danger of the Otzma Yehudit Party ….”); id. ¶ 30 (“In 2018 Adam

Teva posted a list of candidates who undertook a pledge to follow a certain protocol to preserve

trees.”). In paragraph after paragraph, TZAC fails to show any connection between the NIF grants

and the alleged “electioneering” activity. See id. ¶¶ 25–26, 28–30, 34. Instead, TZAC offers only



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the assertion that because “NIF gave and continues to give general grants on a constant basis to

organizations that are involved in electioneering which it knows about … NIF has knowingly or

recklessly allowed grantees to electioneer.” Id. ¶ 31. Even apart from its conclusory nature, this

assertion ignores the need to link NIF’s grants to the alleged electioneering: NIF is free to give

grants to Israeli organizations that engage in “electioneering” so long as they do not use NIF’s

grants to do so.

       The amended complaint thus rests on exactly the sort of “speculation” that Rule 9(b) exists

to preclude. Chorches, 865 F.3d at 86. To state a claim for fraud based on NIF’s certification

“that it had not ‘engage[d] in direct or indirect political campaign activities on behalf of or in

opposition to candidates for public office,’” Am. Compl. ¶ 9, TZAC must allege the who, what,

when, where, and how of such activities by NIF. See Williams v. Affinion Grp., LLC, 889 F.3d

116, 124–25 (2d Cir. 2018). TZAC’s mere assumption that the grantees used their NIF grants—

as opposed to some other funding source—to engage in the alleged conduct does not suffice. And

without making any effort to identify the terms of any actual grant, TZAC plainly has not supported

its conclusion that NIF’s certification of compliance with § 501(c)(3) was false.

       B.      TZAC Has Failed to Plead that NIF “Knowingly” Misrepresented Its
               Compliance with § 501(c)(3).

       Equally fundamentally, TZAC fails plausibly to allege that NIF acted with the requisite

scienter to support liability under the New York FCA. As the State of New York emphasized in

its Statement of Interest, see Doc. 32 at 9–10, the New York FCA requires the plaintiff to

demonstrate that the defendant “knowingly” provided false information in violation of the FCA’s

provisions. N.Y. State Fin. Law § 189(1). And like the federal FCA, the New York statute defines

“knowingly” to encompass “actual knowledge,” “deliberate ignorance,” or “reckless disregard of




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the truth or falsity of the information.” Id. § 188.3(a); see 31 U.S.C. § 3729(b)(1)(A). It therefore

does not reach “acts occurring by mistake or as a result of mere negligence.” New York State Fin.

Law § 188.3(b). As New York explained, the statute’s rigorous scienter requirement ensures that

it “c[an]not be applied to individuals or entities who inadvertently make false statements about

their right to tax-exempt treatment due to good-faith, reasonable interpretations of the tax laws.”

Doc. 32 at 10. If it were otherwise, the New York FCA would raise serious constitutional concerns

because the combination of draconian liability for treble damages plus penalties and the haziness

of the border separating permissible issue advocacy from prohibited electioneering would chill

protected speech and threaten unfair surprise. See Doc. 28 at 21–25.

       Although “knowledge ... may be alleged generally,” Fed. R. Civ. P. 9(b), it must still be

grounded in factual allegations—and not legal conclusions—that make the inference of scienter

plausible—and not merely possible, see Chapman v. Office of Children & Family Servs., 423 F.

App’x 104, 105 (2d Cir. 2011); see also Biro v. Condé Nast, 807 F.3d 541, 545 (2d Cir. 2015)

(“‘Rule 9(b) requires particularity when pleading fraud or mistake, while allowing … knowledge

… to be alleged generally,’ but ‘does not give [a plaintiff] license to evade the less rigid—though

still operative—strictures of Rule 8.’” (quoting Iqbal, 556 U.S. at 686–87)). Accordingly, TZAC

was required to “plead those events which give rise to a strong inference that [NIF] had …

knowledge of the falsity [of its certifications] or a reckless disregard for the truth.” Cohen v. S.A.C.

Trading Corp., 711 F.3d 353, 359 (2d Cir. 2013) (quoting Caputo v. Pfizer, Inc., 267 F.3d 181,

191 (2d Cir. 2001)).

       TZAC’s contention that NIF’s Form 990 certifications were false turns on the proper

interpretation of 26 U.S.C. § 501(c)(3). For TZAC to prevail on its theory of fraud, NIF must have

known or recklessly disregarded (1) that it was legally responsible for the alleged “electioneering,”



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even when engaged in by its grantees and not NIF itself; and (2) that the conduct alleged by TZAC

constituted prohibited “direct or indirect political campaign activities” within the meaning of

§ 501(c)(3). The amended complaint fails to plead facts to support a reasonable inference of either.

       Indeed, TZAC could not plead facts in support of those inferences because TZAC’s theory

depends on several novel interpretations of § 501(c)(3)’s broadly drawn and imprecise terms. “[A]

defendant’s reasonable interpretation of any ambiguity inherent in the [law] belies the scienter

necessary to establish a claim of fraud under the FCA,” at least so long as the defendant was not

“warned away from that interpretation” by available administrative and judicial guidance. U.S. ex

rel. Wood v. Allergan, Inc., 246 F. Supp. 3d 772, 828 (S.D.N.Y. 2017), rev’d on other grounds,

899 F.3d 163 (2d Cir. 2018) (citations and internal quotation marks omitted). This is the only way

to ensure that “innocent mistakes made in the absence of binding interpretive guidance are not

converted into FCA liability.” U.S. ex rel. Purcell v. MWI Corp., 807 F.3d 281, 287 (D.C. Cir.

2015). Accordingly, a complaint that fails to allege the existence of relevant guidance, or some

other allegation showing the defendant’s awareness that it was on the wrong side of the law’s

blurry line, must be dismissed. See U.S. ex rel. Ketroser v. Mayo Found., 729 F.3d 825, 830–32

(8th Cir. 2013); accord U.S. ex rel. Complin v. N.C. Baptist Hosp., --- F. App’x ----, No. 19-1243,

2020 WL 3167634, at *4 (4th Cir. Jun. 15, 2020); United States v. Allergan, Inc., 746 F. App’x

101, 110 (3d Cir. 2018).

       In this case, TZAC first fails to plead that NIF knew or should have known that it was

legally responsible for the alleged “electioneering” conduct of its grantees. As already discussed,

legal guidance from the IRS makes clear that NIF had every right to give money to the

organizations “provided it retain[ed] control and discretion over use of the funds for [exempt]

purposes.” Rev. Rul. 68-489, 1968-2 C.B. 210 (1968). And the amended complaint does not offer



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any factual allegations to show that NIF grants—as opposed to any of the infinite array of other

possible funding sources—were actually used for the alleged “electioneering” activities. Nor does

TZAC offer any legal authority supporting its assumption that a grantee’s conduct is automatically

attributable to NIF regardless of whether the grantee used NIF’s funds to engage in the relevant

conduct. The amended complaint thus fails to allege any facts showing that NIF knew or recklessly

disregarded that it had “engaged in electioneering activities” through its grantees “contrary to [the]

certifications” on its federal tax forms. Am. Compl. ¶ 21.

       In addition, and even more fundamentally, the amended complaint fails to allege facts

showing a violation of § 501(c)(3) to begin with, let alone facts showing a knowing violation.

Section 501(c)(3) authorizes tax exemptions for charitable non-profit organizations on the

condition that the organization “does not participate in, or intervene in (including the publishing

or distributing of statements), any political campaign on behalf of (or in opposition to) any

candidate for public office.” The IRS’s regulations define such “participation or intervention” to

include “the publication or distribution of written or printed statements or the making of oral

statements on behalf of or in opposition to such a candidate.” 26 C.F.R. § 1.501(c)(3)-1(c)(3)(iii);

see also 26 C.F.R. § 1.501(c)(3)-1(b)(3)(iii) (applying the restriction to § 501(c)(3) organizations).

Yet those same regulations decidedly permit “issue advocacy,” which includes defending “human

and civil rights secured by law.” 26 C.F.R. § 1.501(c)(3)-1(d)(2).

       Determining whether a charity has crossed the line from permissible issue advocacy to

prohibited electioneering “depends upon all of the facts and circumstances of each case.” Rev.

Rul. 2007-41, 2007-1 C.B. 1421 (2007). “The use of numerous factors and considerations has led

critics of the government’s approach to refer to it as an ambiguous ‘smell’ test.” Lloyd Hitoshi




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Mayer, Politics at the Pulpit: Tax Benefits, Substantial Burdens, and Institutional Free Exercise,

89 B.U. L. Rev. 1137, 1147 & n.44 (2009) (collecting sources).

         The gravamen of the amended complaint is that NIF and its grantees violated this

prohibition by advocating to enforce Israel’s Basic Law. For example, the only paragraph of the

amended complaint that directly alleges “electioneering” by NIF states: “During the 2019 Israeli
                                                                                              4
election season NIF helped to gather names for a petition to disqualify Otzma Yehudit candidate

[sic] from running for Knesset. NIF sent out the petition and asked for people to sign. After the

candidate—Michael Ben-Ari—was banned by the Supreme Court NIF called it a victory for

democracy. This is clearly electioneering by opposing candidates for public office.” Am. Compl.

¶ 24. Yet pursuant to Federal Rule of Civil Procedure 44.1, the Court may take judicial notice that

the Supreme Court of Israel disqualified Ben-Ari from the election because of “his anti-Arab

ideology and incitement.” Israel’s Supreme Court Bans Jewish Extremist from Election, AP News

(Mar. 17, 2019), https://bit.ly/3aLfYbu. Such incitement violates Israel’s Basic Law on the

Knesset, which states that “a person shall not be a candidate for election to the Knesset, if the goals

or actions of the list or the actions of the person, expressly or by implication, include ... [i]ncitement
                                              5
to racism.” Basic Law: The Knesset § 7A.




4
    Otzma Yehudit means “Jewish Power” in Hebrew.
5
  Along similar lines, TZAC alleges that an attorney affiliated with NIF grantee IRAC “argued
before the Israel Supreme Court against the appeal of Baruch Marzel who had been disqualified
from running for Knesset by the Israel Central Election Committee.” Am. Compl. ¶ 27. The
complaint then references and incorporates a “picture [posted] on [IRAC’s] Facebook account,”
id., which makes clear that the appeal concerned the issue of Marzel’s “racism and racial
incitement.” Ex. F5.



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       The amended complaint also alleges that NIF grantee Adalah engaged in electioneering in

2015 when it “call[ed] on the Central Election Commission to reject disqualification motions

against MK Haneen Zoabi.” Am. Compl. ¶ 28. The Court may take judicial notice that Israel’s

Basic Law on the Knesset provides that “[e]very Israeli citizen who on the day of the admission

of a candidates list containing his name is twenty-one years of age or over shall have the right to

be elected to the Knesset, unless a court has deprived him of that right by virtue of law,” Basic

Law: The Knesset § 6(a), and that the Supreme Court of Israel held that MK Zoabi was legally

entitled to participate in the 2015 election. See, e.g., Isabel Kershner, Israeli Parliament Passes

Law Enabling Ouster of Legislators, N.Y. Times (July 19, 2016), https://nyti.ms/31i9KfX (“The

Supreme Court has so far rejected attempts to bar Ms. Zoabi from running for Parliament.”).

       Accordingly, as NIF argued in its first motion to dismiss, § 501(c)(3) and its implementing

regulations do not prohibit this activity at all, much less prohibit it clearly as would be required to

support an inference of scienter. Activity supporting a nonprofit’s legitimate exempt purpose,

such as advocacy to enforce civil rights, does not automatically become impermissible partisan

activity simply because it occurs in the context of an election. See IRS Priv. Ltr. Rul. 91-52-039,

1991 WL 779998 (Sept. 30, 1991) (holding that a mail-bundling organization formed to give

employment opportunities to people with mental disabilities was entitled to tax-exempt status,

even though the organization “may be mailing or sorting materials that relate to a political

campaign of a candidate for public office”); see also Rev. Rul. 72-513, 1972-2 C.B. 246 (1972)

(holding that a university did not engage in partisan political activity by providing office space and

financial support to a student newspaper that endorsed candidates). And nothing in § 501(c)(3) or

its implementing regulations suggests that non-profits must ignore the rules that govern the

electoral process. See Fulani v. League of Women Voters Educ. Fund, 882 F.2d 621, 630 (2d Cir.



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1989) (holding that the exclusion of a minor-party candidate from the League of Women Voters’

Republican and Democratic primary debates was not “partisan,” but rather “a logical consequence

of the nature and role of primary contests in the electoral process”). If it is not partisan to enforce

the norms governing candidate participation in the Republican and Democratic primary debates,

it is hard to see why it is necessarily partisan to enforce the laws governing eligibility for office.

Put differently, protecting the basic ground rules of democracy is not prohibited “electioneering.”

       In any event, to resolve this case the Court need not fix the precise limits of § 501(c)(3).

Indeed, a backward-looking, quasi-criminal fraud claim seeking $110 million plus penalties (Am.

Compl. ¶ 41) is a uniquely ill-suited vehicle to do so. What matters here is that even if TZAC’s

interpretation of § 501(c)(3) were correct, the amended complaint does not identify any

administrative or judicial guidance that would have put NIF on notice that it was breaking the law.

To the contrary, the enforcement history of § 501(c)(3) suggests just the opposite.

       For example, the American Civil Liberties Union Foundation, a § 501(c)(3) organization,

served as party counsel in a lawsuit challenging the constitutionality of extreme partisan

gerrymandering in Ohio A. Phillip Randolph Institute v. Smith, 335 F. Supp. 3d 988 (S.D. Ohio

2018), and served as amicus counsel on a brief urging the Supreme Court to strike down the
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extreme partisan gerrymanders in Rucho v. Common Cause and Vieth v. Jubelirer.                     The

congressional maps challenged in those cases were explicitly drawn to benefit specific candidates

and parties, but that fact did not convert the ACLU Foundation’s public interest litigation into



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 Br. Amici Curiae Am. Civil Liberties Union, N.Y. Civil Liberties Union, ACLU of N.C., &
ACLU of Md. in Supp. of Appellee, Rucho v. Common Cause, 139 S. Ct. 2484 (2019) (Nos. 18-
422, 18-726), 2019 WL 1167922; Br. Amici Curiae Am. Civil Liberties Union & Brennan Ctr.
Justice in Supp. of Appellants, Vieth v. Jubelirer, 541 U.S. 267 (2004) (No. 02-1580), 2003 WL
22069782.



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partisan political activity; the IRS has never suggested the contrary. The ACLU Foundation has

likewise engaged in litigation challenging the constitutionality of ballot-access restrictions on

behalf of excluded candidates. See, e.g., S.C. Green Party v. S.C. State Election Comm’n, 612

F.3d 752 (4th Cir. 2010) (ACLU Foundation served as counsel for the South Carolina Green Party

and a disqualified candidate for state office, among others). The ACLU’s advocacy in those cases

did not lead to the revocation of its non-profit exemption. NIF had no reason to believe that similar

advocacy supporting civil rights in Israel would run afoul of § 501(c)(3).

       In sum, the amended complaint fails to allege that NIF “knowingly” misrepresented its

compliance with the substantive standards of § 501(c)(3) to any New York authority. This

independent, dispositive flaw further requires dismissal.

                                         CONCLUSION

       As demonstrated above, TZAC’s amended complaint is barred by New York’s public

disclosure bar and does not state a viable claim. Because TZAC has already had an opportunity

to amend its complaint in response to NIF’s first motion to dismiss, and because the defects

discussed in this motion cannot be remedied by further amendment, the Court should dismiss this

action with prejudice.




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Dated: August 25, 2020

       Respectfully submitted.
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